Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 1 of 24




                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                          CASE No. 20-20172-CIV-MARTINEZ-OTAZO-REYES

   777 PARTNERS LLC and
   INSURETY CAPITAL LLC,

            Plaintiffs,

   v.

   CHRISTOPHER JAMES PAGNANELLI,

         Defendant.
   ______________________________

                                PLAINTIFFS’ CLOSING ARGUMENT




   41035272.2
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 2 of 24




                                                    TABLE OF CONTENTS




   I.     INTRODUCTION ................................................................................................................. 1

        A. The Cloning of AWIS and Defendant’s Shell Game....................................................... 2

        B. Defendant Lied to Escape Liability For His Kickback Scheme and the Subsequent
           Wrongs He Committed To Preserve and Protect It. ...................................................... 5

   II. PLAINTIFFS’ REQUESTED RELIEF. ........................................................................... 11

        A. Defendant Should Be Held Responsible For the Damage Caused to Plaintiffs. ........ 11

        B. Defendant Should Be Ordered To Provide A Full Accounting Of All Payments From
           AWIS, NIIA, and Related Entities. ................................................................................ 17

        C. Defendant Should Be Ordered To Disgorge All Payments From AWIS and NIIA... 18

   III. DEFENDANT’S COUNTERCLAIM SHOULD BE REJECTED. ................................ 20

   IV. CONCLUSION ................................................................................................................... 20




   41035272.2
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 3 of 24




  I.          INTRODUCTION

              Honesty matters. Responsibility matters. Truth matters. But unfortunately, these things do

       not matter to Defendant CJ Pagnanelli (“CJ” and/or “Defendant”).

              As this Court was able to observe firsthand, Defendant repeatedly demonstrated that he

       believed he could lie his way out of trouble. Plaintiffs apologize for the use of that word, but

       respectfully submit that it is not hyperbole or exaggerated rhetoric here. Lie is the most fair and

       accurate word to describe Defendant’s testimony at trial.

              This Court is entrusted and empowered with a powerful responsibility to weigh the

       credibility of the witnesses that come before it. Plaintiffs respectfully submit that in the face of

       Defendant’s attempt to lie his way out of responsibility for his own bad acts, Plaintiffs have proven

       by a preponderance of the evidence that Defendant is liable on all counts. Defendant should be

       held responsible accordingly.

              In their opening statement, Plaintiffs asked this Court to award damages which naturally

       flowed from Defendant’s bad acts. Plaintiffs identified two general categories of those damages.

       Now that the evidence is closed, Plaintiffs renew their request. Specifically: first Plaintiffs ask this

       Court to hold Defendant responsible for the losses he caused to Plaintiffs. Second, Defendant

       should be equitably ordered to account — under penalty of perjury and contempt of Court — all

       amounts that he has received, and in the future he expects to receive, from the interconnected

       “umbrella” of Landon Jordan companies with whom Defendant conspired to abuse and exploit

       Defendant’s position as CEO of Insurety. 1 Third, Defendant should be ordered to disgorge all




       1
     “Umbrella” is Defendant’s word. (See 1/3/2023 Trial Tran. (Vol. 1) 127:13 – 127:23.) Plaintiffs
   respectfully submit that “shell game” more accurately describes the nature and relationship of these entities.

                                                          1
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 4 of 24




   payments he has received from his kickback scheme and the subsequent wrongs that he committed

   to perpetuate it. Quite simply, cheaters shouldn’t prosper.

             A.     The Cloning of AWIS and Defendant’s Shell Game.

             As a refresher, below is Defendant’s own chart showing the relevant entities and the

   interrelationship and dependency of those entities that make up the insurance funding “food

   chain”:




             Notably, the use of a “shell game” originated from Landon Jordan himself. On March 10,

   2021 (Dkt. #55), and admitted into evidence as Exhibit 102, NIIA and AHCM filed a motion for

   a protective order to prevent Defendant from disclosing the name of NIIA’s new advance funder.

   Recall that Insurety sued AWIS in Texas state court and obtained a TRO ordering AWIS to remit

   payments, and AWIS was subsequently held in contempt for violating that order. (See 1/4/2023

   Trial Tran. (Vol. 3) at 91:01 – 92:12.) In a remarkable admission of their deliberate efforts to

   escape liability, NIIA itself admitted to this Court:




                                                     2
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 5 of 24




          Jordan was able to arrange a workaround to provide AWIS and AHCM hope.
          Jordan already owned NIIA as a shell entity and in late 2019 set it up to function
          the same way AWIS had. NIIA (with the assistance of Pagnanelli who became an
          employee of AHCM) obtained a new commission advance partner.

   See Exhibit 102 at p. 4-5 (emphasis added) (internal citations omitted).

          Landon Jordan’s associate, Rusty Brock, corroborated this use of NIIA in his designated

   deposition testimony:

                  Q.       When did you and Landon Jordan first discuss
                           migrating AWIS's business operations into a
                           new entity?

                  A.       Probably sometime August, September, sometime
                           in that range there.

                  Q.       Okay.    August, September of 2019?

                  A.       Correct.

                  …

                  Q.       Does NIIA perform substantially the same
                           business function along the same business
                           model that AWIS did?

                  A.       Yes.    Yes.

                  Q.       Okay. So finding a new funding partner was
                           priority number one for you and Landon Jordan
                           before you could launch the operations of a
                           new company to take over the business that was
                           going into bankruptcy with AWIS, correct?

                  A.       Yes.

                  …

                  Q.       Okay.    So, after -- when AWIS went into
                           bankruptcy, what was your plan with respect to
                           new business generation?    Was it your plan
                           that new business would continue to be
                           generated by AWIS or that new business would
                           be generated by a new entity to be formed
                           later?


                                                   3
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 6 of 24



                  A.      It was my understanding that new business
                          would be generated by a different entity.

                  Q.      And ultimately that worked out to be NIIA,
                          right?

                  A.      Correct.

   (Brock Deposition 139:07 - 139:12, 139:20 - 140:04, 143:24 - 144:09 [D.E. 229-9].)

          The designated deposition testimony of Jaime Guli further proves the deliberate use of a

   “shell game.” Guli was the Chief Operating Officer of Agentra, another Insurety client who had

   regular interactions with Defendant. She testified that Defendant, together with his cohorts, Rusty

   Brock and Landon Jordan, had “a contingency plan” in place to “pump and dump” Insurety’s

   customer, AWIS, while they pivoted to NIIA:

                  Q.      When you say they had a contingency plan as a
                          backup, who are you talking about?

                  A.      Landon, Rusty and CJ.

                  Q.      And what do you mean, a contingency plan?

                  A.      So, Landon referred to, which is why we were
                          not – so Landon kind of referred to AWIS as a
                          pump and dump. Make it as big as you can as
                          fast as you can and then dump it. Because while
                          you’re burning it, basically you already have
                          another entity [NIIA] in full operation ready
                          to pick it up where you’re leaving off.

   (Guli Deposition ( Vol. 1) 51:12 – 51:23 [D.E. 229-3].)

          The evidence at trial was clear that Defendant worked mightily to that effect. (See, e.g.,

   Exhibits 42, 43, 44, 45, 46, 47, 52, 57, 70.) Brock testified in his designated deposition testimony

   that “CJ was in the lead for NIIA.” (Brock Deposition at 65:04 – 65:11; 65:18 – 65:22 [D.E. 229-

   9].) And it was all done to preserve and protect the payment stream that Defendant brokered for

   himself with his original kickback scheme.



                                                    4
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 7 of 24




             B.      Defendant Lied to Escape Liability For His Kickback Scheme and the
                     Subsequent Wrongs He Committed To Preserve and Protect It.

             At the center of this case is Defendant’s use of false pretense, false representations, and

   actual fraud in breach of his duties to Plaintiffs. Defendant has repeatedly lied in furtherance of

   his original self-dealing and kickback scheme, and thereafter, his subsequent wrongs to preserve

   and protect it. Through 2021, Defendant has received kickbacks from either AWIS, or its

   successor/clone NIIA, of at least $860,471.25:

                            AWIS (via Mansfield)                 NIIA (via HIK)

                        2018: $13,263.55                   2019: $8,448.05

                        2019: $116,986.85                  2020: $252,029.55

                        —                                  2021: $469,543.25

                                                           —

                        $130,250.40 2                      $730,020.85 3

             At his deposition, Defendant lied that he had not received any payments in connection with

   any policies sold through AWIS:

             Q.      All right. Have you ever received a payment for any
                     policies sold through AWIS?

             A.      Not to my knowledge.

   (CJ Deposition at 71:25 - 72:02 [D.E. 229-2].)




   2
       See Exhibits J-14 and J-15.
   3
     See Exhibits 25, 26, and 27. In addition to the testimonial declaration of Rusty Brock at Exhibit 24,
   Exhibits 25, 26, and 27 are admissible as business records under FRE 803(6). Moreover, they are not being
   admitted to prove the truth of the matter asserted because there is no dispute about the existence of those
   payments because Defendant admitted it. (1/3/2023 Trial Tran. at 118:08 – 118:12; 125:08 – 125:23.)

                                                       5
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 8 of 24




           As proved by the designated deposition testimony of Landon Jordan, that was a lie. While

   he was serving as Chief Executive Officer of Insurety, Defendant was paid a total of $130,000

   through an entitlement called “Mansfield Business Management” for a percentage of policies sold

   by Insurety’s customer, AWIS:

                   Q.      And Mansfield paid CJ with what money?

                   A.      With dollars that were coming in from sales
                           that were made by AWIS.

   (Jordan Deposition at 29:05 – 29:07 [D.E. 229-8].)

           At his deposition, CJ also lied about his receipt of payments from NIIA:

                   Q.      Have you ever received any                         payments         for
                           policies sold through NIIA?

                   A.      Again, not to my knowledge.

   (CJ Deposition at 72:06 - 72:08 [D.E. 229-2].) 4

           That was another lie. CJ has been paid at least another $730,020.85 through 2021 through

   another Jordan entity called “Health Insurance King” for a percentage of all policies sold through

   NIIA:

                   Q.      Okay.     And did NIIA, when it started
                           operations in October and November of 2019,
                           did it pick up the practice of paying referral
                           fees for policies as we see here to, let's
                           start with CJ?

                   A.      Yes.

                   …

                   Q.      Okay. For NIIA's referral fees, where was CJ
                           -- from what entity did CJ receive payment?




   4
     A point to be discussed later is that Defendant would not have lied about his payments on policies sold
   through NIIA if there was an honest and innocent explanation for it.

                                                      6
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 9 of 24



                   A.       An entity called Health Insurance King.

                   Q.       HIK?

                   A.       Just like -- HIK.

   (Brock Deposition at 107:22 – 108:01; 108:05 – 108:09 [D.E. 229-9]. See also PX 24.) 5

           Knowing he was caught in a lie going into trial — and demonstrating yet again his utter

   disregard for the truth and his sworn oath to tell it — Defendant tried to concoct a new lie. On the

   stand at trial, Defendant testified for the first time that his payments from HIK were part of his

   compensation at AHCM, yet another Landon Jordan entity under the same “umbrella” as AWIS,

   NIIA, Mansfield, and HIK. (1/3/2023 Trial Tran. (Vol. 1) at 28:14 – 28:21.) But Defendant’s new

   lie was contradicted by the above quoted testimony of Messrs. Jordan and Brock (as well as

   Brock’s Affidavit introduced into evidence at PX 24 – see Para. 4). It also contradicts Defendants’

   prior deposition testimony, with which he was immediately impeached at trial:




   5
     Despite Defendants’ oral motion to reconsider its admission at trial, Exhibit 24 should not be retroactively
   excluded from evidence because Defendants have failed to satisfy the high standard for reconsideration.
   See, e.g., Battle v. Gladstone Law Group, PA, 2013 WL 12077795, * 1 (S.D. Fla. Sep. 27, 2013) (Martinez,
   J.). Among other reasons, it was not legal error to admit Exhibit 24 because: 1) a motion to reconsider is
   not an opportunity for Defendant to make new arguments they should have made before the admission of
   PX 24 (including their failure to file a motion in limine ahead of trial); 2) Plaintiffs did not have a better
   method of obtaining the same discovery because of Defendant’s perjury at his deposition; and 3) it is well
   established that the Court has wide discretion to admit hearsay evidence at trial where the Court determines
   that it has sufficient indicia of trustworthiness. See Rivers v. United States, 777 F.3d 1306, 1312 (11th Cir.
   2015) (“We are “particularly hesitant to overturn a trial court's admissibility ruling under the residual
   hearsay exception absent a ‘definite and firm conviction that the court made a clear error of judgment in
   the conclusion it reached based upon a weighing of the relevant factors.’”).

   Moreover, Rusty Brock’s Declaration is not hearsay under FRE 801(d)(2)(A), (C), and/or (D) because
   Rusty Brock was authorized by Defendant to process Defendant’s payments from AWIS and NIIA
   (1/3/2023 Trial Tran. at 44:04 – 44:10, 46:13 – 51:04, 122:10 – 122:17.) The Declaration is also not hearsay
   under FRE 801(d)(2)(D) because Mr. Brock was a co-conspirator of Defendant. (See, e.g., CJ Deposition
   at 30:12 – 30:24 [D.E. 229-2].)

   Finally, Defendant attended Brock’s deposition and had the opportunity to cross-examine him regarding
   Defendant’s payments from HIK as a percentage of policies sold through NIIA. (See Brock Deposition at
   107:22 – 109:09 [229-9].)

                                                         7
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 10 of 24



                 Q.      What is your compensation at AHCM?

                 A.      $125,000 a year plus discretionary bonus.

                 Q.      And are there criteria for the discretionary
                         bonus?

                 A.      I don’t know.

                 Q.      Do you know            if    its   in    your     employment
                         agreement?

                 A.      I don’t know it would be, it would not be.

                 Q.      Do you get – do you know if you get any kind
                         of fee or referral based on sales or advances
                         or commissions or anything of that nature?

                 A.      I don’t know.

                 Q.      Have you ever received any                   payments       for
                         policies sold through AHCM?

                 A.      Not to my knowledge.

   (See 1/3/2023 Trial Tran. (Vol. 1) at 28:22 – 28:17 (impeaching with CJ Deposition at 25:15 –

   25:25, 72:03 – 72:05 [D.E. 229-2].) And when he was pressed further for a clear explanation of

   how these payments originated, he couldn’t provide it:

                 Q.      If you’re employed by AHCM, why would you be
                         getting paid for policies sold through other
                         entities?

                 A.      I can’t answer that. All I know is I took a
                         job under this umbrella – and that’s why
                         you’re confusing me with these entities – and
                         the job was a base salary plus a profit bonus,
                         and through deposition testimony I found out,
                         okay, it’s HIK where the profits entities paid
                         me from. They could probably have AHCM pay me
                         that profit, I just don’t know how the
                         accounting for all this works. But I get paid
                         to recruit call centers a profit interest.
                         That’s   my   compensation.   And  that’s   my
                         testimony. The entities is very confusing to
                         me.

                                                  8
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 11 of 24




   (1/3/2023 Trial Tran. (Vol. 1) at 127:13 – 23.) Plaintiffs respectfully submit that Defendant was

   lying when he testified that he doesn’t know why he has been paid through HIK for policies sold

   through NIIA (and funded by Advance Plus), given Defendant’s direct involvement in finding

   Advance Plus as the new commission funding partner, which enabled NIIA to migrate the business

   away from Insurety’s customer, AWIS.

          Defendant’s most persistent, yet obvious lie was that all of the foregoing payments he

   received were not kickbacks, but compensation for serving “on a board.” (1/3/2023 Trial Tran.

   (Vol. 1) at 98:17 – 98:22.) By a preponderance of the evidence, Defendant was not merely

   confused – he was abjectly lying about receiving payments for board service. For starters, Landon

   Jordan himself flatly contradicted Defendant’s lie:

                  Q.     Okay. Was CJ ever on the Board of either AWIS
                         or AHCM?

                  A.     Not that I'm aware.

                  Q.     Okay.   Are you aware of CJ serving on any
                         boards in connection with AWIS or AHCM?

                  A.     Not that I am aware of.

   (Jordan Deposition at 78:12 – 78:17 [D.E. 229-8].)

          Moreover, Defendant’s explanation that he served on the Board was exposed as an

   obvious lie by his own testimony:

                  Q.     At your deposition you told me that you didn’t
                         know what board you were going to be put on?

                  A.     I didn’t know what board I was on. Which
                         entity.

                  Q.     Okay. The board never met, right?

                  A.     We never had a meeting.

                  Q.     Okay. You         never       participated     in    any    board
                         meetings?

                                                   9
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 12 of 24



                  A.      Well, we had — no, we had no board meetings.

                  Q.      You didn’t know if you had ever been invited
                          to a board meeting did you?

                  A.      It was a six-month period of time. I didn’t
                          think much about it. I was super busy at
                          Insurety. At the time I never followed up when
                          a meeting would be. I assumed there would be
                          one in the coming year.

                  Q.      In your deposition on March 17th of 2021 you
                          couldn’t tell me who else was on the board,
                          right?

                  A.      I could not.

                  Q.      Do you know who else was on the board as you
                          sit here today?

                  A.      I remember looking at the public filing. Tammy
                          Brown, Landon Jordan, I don’t remember who
                          else.

                  Q.      Do you know that these other people were on
                          the board or are you only reading that from
                          the public filing that you’ve referenced?

                  A.      I learned about it from the public filing.

   (1/3/2023 Trial Tran. (Vol. 1) at 43:03 – 43:25.)

          Finally, Defendant admitted that he received numerous emails from Rusty Brock while he

   was Insurety’s CEO. (See Exhibits 16, 17, 18 19, and 20.) Attached to those emails were

   spreadsheets showing Defendant’s cut from the commissions generated by policies sold by AWIS,

   and funded by Insurety. (See, e.g., Exhibit 17.) Those payments were obviously not Board

   payments. They were kickbacks. Plain and simple. Nevertheless, at trial, Defendant doubled and

   tripled down on his lie by claiming “I don’t know what a board payment looks like. I don’t know

   the definition of that.” (1/3/2023 Trial Tran. (Vol. 1) at 48:02 – 48:04.)




                                                    10
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 13 of 24




               Defendant is 39 years old and has a sterling academic resume indicating above-average

       intelligence: (i) he has a Bachelor’s Degree from the University of California, Los Angeles in

       applied mathematics and economics, (ii) a Master’s Degree in real estate development from the

       University of Southern California, and (iii) a second Master’s Degree in quantitative finance from

       the London School of Economics. (27:17 - 28:07.) Despite his corrupt and dishonest judgment,

       the evidence at trial shows that Defendant is of above-average intelligence, and it is patently

       obvious to anyone of just average intelligence that these were not board payments. Thus, Plaintiffs

       respectfully submit that this Court should not believe Defendant when he tries to play dumb.

 II.           PLAINTIFFS’ REQUESTED RELIEF.

               A.      Defendant Should Be Held Responsible For the Damage Caused to Plaintiffs.

               First and foremost, Defendant should be held responsible for the damage caused to

       Plaintiffs by his various bad acts in furtherance of his kickback scheme and the subsequent acts he

       took to preserve and protect it.

               As Insurety’s CEO, Defendant was required to put the Company’s interests before his own.

       (See 1/3/2023 Trial Tran. (Vol. 1) at 37:01 – 38:03.) 6 Instead, Defendant breached his duties to

       Plaintiffs by perpetrating his undisclosed kickback scheme. 7 Plaintiffs’ representatives, Jorge

       Beruff (managing director at 777) and Robert Gray (former general counsel, and current CEO of

       Insurety) both testified how Defendant led them into the AWIS deal without disclosing his conflict

       of interest and self-dealing. (See, e.g., 1/4/2023 Trial. Tran. (Vol. 2) at 86:05 – 90:25 (Beruff) and



       6
         Defendant also admits that he owed Insurety fiduciary duties. (Id. at 34:07 – 10. See also Exhibits 4 & 5
       at ¶ 76 (Defendant’s judicial admission that as CEO of Insurety, he owed Insurety a fiduciary duty to act
       loyally, in good faith, in a true and honest manner, and in the best interests of the Company).)
       7
         Defendant’s testimony that he disclosed his receipt of “board payments” to Ed Gehres and Bob Gray –
       approximately six months after perpetrating it, mind you – should not be believed, and was credibly denied
       at trial by Messrs. Gehres and Gray.

                                                           11
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 14 of 24




   1/4/2023 Trial Tran. (Vol. 3) at 73:07 – 73:19, 75:03 – 75:08 (Gray).) Defendant’s text messages

   prove that Defendant knew what he was doing. (See Exhibits 10 and 87.) Indeed, it was

   Defendant’s plan from the beginning. As Landon Jordan admitted:

                  Q.     Did CJ ever tell you that he was in a position,
                         as Insurety’s CEO, to help AWIS by providing
                         advanced funding?

                  A.     Yes.

                  Q.     Okay. And did he tell you that going into the
                         deal?

                  A.     Yes.

                  …

                  Q.     Okay. So the fact that CJ would be receiving
                         a percentage of AWIS’s PM/Pms was discussed
                         before Insurety began funding AWIS; is that
                         right?

                  A.     Yes.

   (Jordan Deposition at 51:21 – 52:02; 55:01 – 55:04 [D.E. 229-8]. See also id. at 70:14 – 71:07.)

          After Defendant’s self-dealing was discovered and he was fired for cause in April 2019, he

   immediately began committing additional bad acts to preserve and protect those payments. First

   he violated his 1-year non-competition restriction in Paragraph 6(D)(II) of his Employment

   Agreement. (See, e.g., 1/3/2023 Trial Tran. (Vol. 1) at 102:06 – 103:04. See also Exhibits 42 –

   45.) Defendant eventually succeeded with Advance Plus, helping AWIS/NIIA replace Insurety

   with a new advance funder. (See, e.g., 1/3/2023 Trial Tran. (Vol. 1) at 104:09 – 104:21. See also

   Exhibits 69 – 72, 76, 77, 82, and 83.) Importantly, Defendant admitted that Advance Plus is

   Insurety’s competitor. Thus, Defendant’s efforts directly resulted in a competitor stepping in to

   breathe life into Defendant’s “contingency plan.” That was exactly what Defendant agreed not to

   do when he agreed to the non-compete provision of his Employment Agreement, which prohibits


                                                  12
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 15 of 24




   Defendant from “directly or indirectly, on [Defendant’s] behalf or on behalf of a third party,

   engag[ing] in any commercial activity in the U.S that competes with [Insurety].” (1/3/2023 Trial

   Tran. (Vol. 1) at 110:24 – 111:08.) As Robert Gray explained, Defendant intentionally and directly

   sabotaged Insurety’s efforts and ability to recover its balance from AWIS. (1/4/2023 Trial Tran.

   (Vol. 3) at 96:25 – 97:10; 113:21 - 114:15)

           In the course of flagrantly violating the non-competition covenant in his Employment

   Agreement, Defendant also misappropriated Plaintiffs’ confidential information and trade secrets

   when he shared the “Updated Pagnanelli Model” with Advance Plus in order to help AWIS escape

   Insurety and prop up NIIA with a new advance funder in the fall of 2019. (See, e.g., 1/3/2023 Trial

   Tran. (Vol. 1) at 106:03 – 106:09. See also Exhibit 70; JX 13.) As Insurety’s CEO, Defendant

   admits that he was privy to the development of the Company’s Confidential Information – which

   includes trade secrets as defined in Paragraph 6((B)(I) of his Employment Agreement. (See JX 1

   ¶ 6(B)(I). See also Exhibits 4 and 5 ¶ 33.) Throughout his time as Insurety’s CEO, Defendant

   repeatedly violated his obligation to safeguard such information by disclosing it to his father. (See,

   e.g., 1/3/2023 Trial Tran. (Vol. 1) at 74:01 – 74:10. See also Exhibits 28, 30, 31, 35, 36, 37, 39,

   40, and 41.) 8

           By a preponderance of the evidence, Plaintiffs have shown that it is more probably true

   than not true that the “Updated Pagnanelli Model” (JX 13) reflects Plaintiffs’ Confidential

   Information and trade secrets. As 777 Partners’ managing director, Jorge Beruff explained, the

   incorporation of that data and subsequent refinement of the model was “very” valuable:




   8
     By defending his disclosure of such information to his father as subject to a “verbal NDA” between them,
   Defendant necessarily admits that he understood that the information was confidential. (1/3/2023 Trial
   Tran. (Vol. 1) at 80:20 – 82:10.) His understanding was further demonstrated when he shared Insurety’s
   financial model with Joseph Safina and asked Safina to sign an NDA. (Exhibits 42 and 43.)

                                                      13
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 16 of 24



                  Q.      And where does Insurety and Triple 7 get the
                          data to support those variables?

                  A.      So with the persistency assumptions, that came
                          from experience. So over CJ’s tenure with
                          Insurety, we learned a lot and observed a lot,
                          you   know,   from  our   clients  and   their
                          commissions that we had advances against, we
                          were able to identify certain trends across
                          different products and commissions were. So
                          over time we were able to refine our pricing
                          models to incorporate, you know, persistency
                          assumption that, you know, matched our
                          experience and, you know, historical behavior.

                  Q.      Are these pricing models considered valuable?

                  A.      Very much so, yes.

                  Q.      Why?

                  A.      It’s how we compete for business. If our
                          information is better than our competitors,
                          then we feel confident that we can more
                          precisely price a transaction, offer more
                          competitive advance terms, more competitive
                          fees, et cetera.

   (1/4/2023 Trial Trian. (Vol. 2) at 93:02 – 93:19.)

          Testifying further, Mr. Beruff recognized JX 13 – and specifically, the second tab of the

   Excel spreadsheet titled “Added Commission”, as Plaintiffs’ work product and trade secrets. (See,

   e.g., 1/4/2023 Trial Tran. (Vol. 3) at 12:03 – 19:23.) As he explained, Plaintiffs’ data and work

   product reflected in JX 13 are trade secrets because “if you look at the returns in the two different

   models they’re different. Our addition allowed us to more accurately price the deals and more

   accurately understand the potential return for Insurety on each transaction.” (Id. at 19:25 – 20:04.

   See also id. at 69:16 – 69:24.)

          The Court should not credit Defendant or his father’s explanations that JX 13 is something

   they conveniently built from scratch with “made up” numbers and assumptions. After all, which


                                                    14
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 17 of 24




   alternative is more probably true? On one hand, did Defendant and his father conveniently create

   an innocent financial model in 2019 that magically arrived at the same numbers and assumptions

   derived from Insurety’s data, historical information, and internal modeling from Defendant’s

   tenure as Insurety’s CEO? Or, on the other hand, is Defendant lying and he really directed his

   father to fabricate a “new” financial model that incorporated Insurety’s trade secrets that allowed

   them to more accurately and competitively price transactions? 9 Plaintiffs respectfully submit that

   the answer is obvious: the second alternative is more probably true.

            For a breach of contract claim under Florida law, “the goal is to place the injured party in

   the position it would have been in had the other party not breached the contract so as to give the

   aggrieved party the benefit of its bargain.” Katz Deli of Aventura, Inc. v. Waterways Plaza, LLC,

   183 So. 3d 374, 379 (Fla. 3d DCA 2013). “The damages reasonably flowing from a breach can

   vary greatly depending on the factual circumstances surrounding the breach, and different methods

   of calculation may be employed to properly compensate a successful plaintiff.” Katz, 183 So. 3d

   at 380. Likewise, the Court may award damages for misappropriation of trade secrets pursuant to

   both 18 U.S.C. § 1836(b)(3)(B) and Fla. Stat. Ann. § 688.004.

            Here, Plaintiffs’ losses were itemized by its current CEO, Robert Gray:


       Total Amount Advanced                                                             ($36,902,303)


       Total Amount Collected ($28,834,283 applied to Advance                             $30,915,093
       repayment + $2,680,249 in PMPM fees)


       Cost of Borrowing during AWIS relationship                                         ($5,404,617)



   9
    For the sake of argument only, “even if” Defendant and his father created JX 13 with “made-up” numbers
   and assumptions as they claim, it will still belong to Plaintiffs. (See also JX 1: Employment Agreement
   ¶ 6(C).)

                                                     15
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 18 of 24




    Legal Fees and Expenses:

            - Legal Fees to Mayor Brown through Dec. 23, 2022:                                     ($929,492)


            - Legal Fees to Whitley Penn through Dec. 23, 2022:                                    ($278,826)


            - Legal Fees to Haynes and Boone through Dec. 23, 2022:                                ($416,089)


            - Related Travel and Out of Pocket Costs:                                                         ()


                                      Credit for Settlement of AWIS matter                         $3,302,893


                                                                        TOTAL:                   ($9,741,401)

   (See 1/4/2023 Trial Tran. (Vol. 3) at 98:01 – 101:18.)

           There is no dispute that the above is Plaintiffs’ actual loss – Defendant introduced no

   evidence to the contrary.

           Defendant caused these losses through a one-two punch to Insurety’s gut. Initially, he

   personally (and secretly) profited from AWIS kickbacks while AWIS – not coincidentally – grew

   to become Insurety’s largest customer, all while Defendant served as Insurety’s CEO. As Landon

   Jordan testified, that was the plan from the start. (Jordan Deposition at 51:21 – 52:02; 55:01 –

   55:04 [D.E. 229-8]. See also id. at 70:14 – 71:07.) Then later, through his violation of the non-

   competition covenant of his Employment Agreement and misappropriation of trade secrets, on

   behalf of AWIS’s successor, NIIA, Defendant actively and intentionally sought a new funding

   source – someone to compete in the exact same business of Insurety – to finance the continuation

   of stream of kickbacks. 10 By a preponderance of the evidence, Plaintiffs have proved that the above


   10
     Among other things, the 1-year non-compete in Defendant’s Employment Agreement was reasonable
   and necessary to protect Plaintiffs’ legitimate business interests pursuant to Fla. Stat. § 542.335, including
   but not limited to Plaintiffs’ confidential information and trade secrets, as well as their efforts to navigate

                                                         16
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 19 of 24




   loss was caused by Defendant’s numerous bad acts starting with his undisclosed kickback scheme.

   (See, e.g., 1/4/2023 Trial Tran. (Vol. 3) at 96:25 – 97:10; 113:21 - 114:15)

           If Defendant’s liability for the damage he caused to Plaintiffs is approached as a multiple

   choice question, the correct answer is clear:

           Question: How did Defendant cause Plaintiffs’ losses?

                   (a)     Defendant breached his Employment Agreement
                           and fiduciary duties to Plaintiffs.

                   (b)     Defendant     breached    the     non-compete
                           restrictions of his Employment Agreement.

                   (c)     Defendant         misappropriated            Plaintiffs’          trade
                           secrets.

                   (d)     All of the above.

           Accordingly, Plaintiffs request judgment in their favor, and against Defendant, in the

   amount of $9,741,401.

           B.      Defendant Should Be Ordered To Provide A Full Accounting Of All Payments
                   From AWIS, NIIA, and Related Entities.

           Plaintiffs also request the Court to order Defendant to provide an accounting of all

   payments he has received from AWIS, NIIA, and any related entities. As Plaintiffs noted during

   opening, “one of the hopes of this trial is that we can finally learn what the full extent is of

   [Defendant’s] wrongdoing.” (15:09 – 15:11.) Unfortunately, Defendant took the stand at trial and

   persisted in feigning ignorance of the full amount of his self-dealing. (See 1/3/2023 Trial Tran.

   (Vol. 1) at 53:20 – 54:03; 125:08 – 128:17.) Defendant has also lied repeatedly about the payments



   the recovery of their unpaid balance with AWIS/NIIA. At trial, Defendant admitted that they were
   reasonable in scope and duration. (1/3/2023 Trial Tran. (Vol. 1) at 100:04 – 100:16.) In his Answer,
   Defendant also admitted that the restrictive covenants in his Employment Agreement were necessary to
   protect the Company’s legitimate business interests and also survive the termination of the Agreement. (See
   Exhibits 4 & 5 ¶¶ 35 – 37.) These are binding judicial admissions. See, e.g., Cooper v. Meridian Yachts,
   Ltd., 575 F.3d 1151, 1177-78 (11th Cir. 2009).

                                                       17
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 20 of 24




   he has received. (See pages 5 - 10, supra.) 11 Accordingly, Plaintiffs request an accounting in order

   to ensure that Defendant does not escape detection for all of the illicit payments he has received.

           C.      Defendant Should Be Ordered To Disgorge All Payments From AWIS and
                   NIIA.

           Cheaters shouldn’t prosper. Plaintiffs’ third request for relief is that Defendant should be

   ordered to disgorge his payments from AWIS (paid through Mansfield) and NIIA (paid through

   HIK), which Plaintiffs proved totaled at least $860,471.25 through 2021. 12 Plaintiffs further

   request that the Court order Defendant to disgorge and/or forego all future payments of a

   percentage of policies sold through AWIS and NIIA. Finally, Plaintiffs request an express ruling

   that such amounts were received as the result of false pretenses, false representations, and/or actual

   fraud, as well as Defendant’s fraud and/or defalcation while acting in a fiduciary capacity.

           By a preponderance of the evidence, Defendant’s liability is clear. It begins with him

   bargaining for a self-dealing kickback scheme with AWIS as Insurety’s CEO. Insurety’s business

   model is important context for understanding the structure of Defendant’s kickbacks.

           If Defendant received a traditional bribe of $860,471.25 at the time he brokered his

   kickback scheme, there would be no question that the entire amount should be disgorged. It should

   not be treated any differently where Defendant opted to receive a stream of future payments in lieu

   of a lump-sum amount. Indeed, it makes perfect sense that Defendant opted for payments over

   time – essentially creating an annuity, funded by ill-gotten gains. At the most basic level, Insurety’s

   business is based on the financial principle of “factoring”, in which Insurety advances future




   11
     Again, if there was an innocent explanation about his receipt of such payments then Defendant would not
   have lied to protect them.
   12
     Plaintiffs are not including Defendant’s $125,000 annual salary as an employee of AHCM in their request
   for disgorgement.

                                                      18
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 21 of 24




   commissions in exchange for the future commission stream plus a monthly fee (the “PMPMs”). 13

   Defendant was involved in the initial financial modelling of applying “factoring” to this industry

   which he brought to Insurety in 2017. (See, e.g., 01/03/2023 Trial Tran. (Vol. 1) at 120:03 –

   120:05. See also Exhibit A.) So it was natural for Defendant to apply his finance skills to the self-

   dealing kickback scheme he brokered with Landon Jordan because Defendant understood that he

   would ultimately make more money from a stream of payments extending into the future than he

   would receive from an upfront payment in the form of a traditional bribe.

           To borrow a phrase from the criminal context, everything that Defendant did thereafter was

   “fruit of the poisonous tree.” After Defendant’s kickback scheme was detected and he was fired

   by Insurety, he did everything he could to preserve and protect his receipt of those payments.

   Almost immediately, Defendant violated the non-competition restrictions of his Employment

   Agreement by contacting Jim Terlizzi and Joseph Safina in an effort to replace Insurety with a new

   advance funder, eventually succeeding in replacing Insurety with Advance Plus after Defendant

   and his co-conspirators’ shell game rolled AWIS into NIIA in the fall of 2019. (See, e.g., 1/3/2023

   Trial Tran. (Vol. 1) at 102:06 – 104:21.) Defendant also misappropriated Plaintiffs’ trade secrets

   by using the financial model that had been updated and refined with Insurety’s historical

   performance data. (See, e.g., Exhibit 42, 70. 14). (See pages 13-15, supra.)

           Defendant’s bad acts are not unrelated instances, each occurring in a vacuum. Instead,

   Defendant’s actions are a single continuum of wrongful acts that originated with the kickback



   13
      Pursuant to FRE 201, see https://www.investopedia.com/terms/f/factor.asp. See also eCapital Com. Fin.
   Corp. v. Hitachi Cap. Am. Corp., 519 F. Supp. 3d 1129, 1132, n.2 (S.D. Fla. 2021) (“Factoring is, in general
   terms, the business of purchasing accounts receivable at a discounted rate, then undertaking the
   responsibility of collecting those accounts.”).
   14
     Among other evidence, the fact that the updated model was confidential is evidenced by the fact that
   Defendant asked Mr. Safina to sign an NDA. See Exhibit 43.

                                                       19
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 22 of 24




        scheme he brokered for himself as Insurety’s CEO, and the subsequent wrongs that Defendant

        undertook to preserve and protect his scheme after it was discovered. Accordingly, Plaintiffs

        respectfully submit that Defendant be ordered to equitably disgorge at least $860,471.25 for his

        illegal receipt of payments.

 III.          DEFENDANT’S COUNTERCLAIM SHOULD BE REJECTED.

               Plaintiffs also request judgment in their favor, and against Defendant, on his Counterclaim.

        (See, e.g., Exhibit 8: 6/11/2019 R. Gray Letter to Defendant.) For starters, Plaintiffs fully

        performed under the Employment Agreement by employing Defendant and paying him the agreed

        upon salary. But most simply, Defendant breached his Employment Agreement by brokering his

        kickback scheme, failing to disclose it, and recklessly advancing funds to AWIS in order to line

        his own pockets. Under Florida law, a party who breaches an agreement cannot enforce it. See

        Bradley v. Health Coalition, Inc., 687 So. 2d 329, 333 (Fla. 3d DCA 1997). Accordingly,

        Defendant’s counterclaim should be rejected.

 IV.           CONCLUSION

               With the last Question & Answer of trial, Defendant was given a final opportunity to take

        responsibility. He refused:

                       Q.      Well, this is your last chance. Are you ready
                               to take responsibility that you were not being
                               paid for being on a board?

                       A.      I was paid for being on a board.

                       Q.      So that’s a no?

                       A.      Sorry. I don’t understand the question.

        (1/5/2023 Trial Tran. (Vol. 4) at 144:24 – 145:03.)

               Since Defendant refuses to take responsibility, Plaintiffs respectfully request this Court to

        hold him responsible at long last.

                                                        20
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 23 of 24




   Dated: January 17, 2023                             Respectfully submitted,

                                                       /s/ Steven M. Appelbaum
                                                       Ashley H. Saul
                                                       Florida Bar No. 1025690
                                                       John C. Gekas
                                                       Admitted pro hac vice
                                                       John A. Turner
                                                       Florida Bar No. 000922
                                                       Steven M. Appelbaum
                                                       Florida Bar No. 71399



                                                       SAUL EWING LLP
                                                       Counsel for Plaintiffs
                                                       701 Brickell Ave, 17th Floor
                                                       Miami, FL 33131
                                                       Telephone: 305-428-4516
                                                       Email:
                                                       John.turner@saul.com
                                                       Steven.appelbaum@saul.com
                                                       John.gekas@saul.com
                                                       Linda.dunne@saul.com
                                                       Wpb-ctdocs@saul.com
                                                       Jessica.Barrero@saul.com
                                                       Mia-ctdocs@saul.com
Case 1:20-cv-20172-JEM Document 277 Entered on FLSD Docket 01/17/2023 Page 24 of 24




                                CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on January 17, 2023, the foregoing was filed with the Clerk

   of Court using CM/ECF, which will serve a copy of the foregoing document on all counsel of

   record via transmission of Notices of Electronic Filing generated by CM/ECF to Kenneth W.

   Waterway,     Esq.,    counsel    for    Defendant    Christopher    James        Pagnanelli,

   kwaterway@bergersingerman.com;          RMartinez@bergersingerman.com         ;          and

   drt@bergersingerman.com.


                                           Steven M. Appelbaum, Esq.
                                           Steven M. Appelbaum
                                           Florida Bar No. 71399
